Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 1 of 16



                           UNITED STATES DISTRICT COURT
                                                                      a CR -SEITZ
                       CaseN
                           SO
                            oUTH 1ST-
                             .
                                    RI OUL                             x Mwœ smpxa ao cs
                                      18U.S.C.j 1347                              slplox zox
                                      18U.S.C.j2
                                      18U.S.C.j982                          FILED by
                                                                                               .C.
 U N ITED STA TES O F A M ERIC A
                                                                               SEF 28 2911
 V S.                                                                       STEVEN .
                                                                            CLERK M LARIMORE
                                                                             s. U S DIST CT
                                                                               o.offI
                                                                                    A MI
                                                                                       XM'
                                                                                       . .-
 LAZARO PRAT,
 LISSETTE Lo pE z PR A T ,and
 EUDALDO ESTABAN TouuEs,

        D efendants.
                                      /

                                          IN D IC TM EN T

        The Grand Jury chargesthat:

                                 G EN ER AL A LLEG A TIO N S

        Atalltimesrelevantto thislndictm ent:

                                   TheM edicareProzram

              TheM edicareProgrnm (dtM edicare'')wasafederalprogram thatprovided freeor
 below-costhealthcarebenefitstocertainindividuals,prim arilytheelderly,blind,anddisabled.The

 benefitsavailableunderM edicare wereprescribed by statuteand by federalregulationsunderthe

 auspicesoftheUnited StatesDepartmentofHealth and Human Services(&tHHS''),through its
 agency,the CentersforM edicare and Medicaid Services ($tCM S''). lndividualswho received
 beneftsunderM edicarewerecomm only referredto asM edicareçsbeneficiaries.''

              M edicare w asa lthealth care beneiitprogrnm ,''asdefined by Title 18,U nited States

 Code,Section24(b).
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 2 of 16



         3.     Pm B ofthe M edicre Program was a m tdicalinsurance program thatcovered,

  am ongotherthings,certain physician and outpatientservices,and otherhealth carebenetits, item s,

  and services,ineludingdurablemedicalequipmentC$DM E''),thatweremedically necessaryand
  ordered by licensed m edicaldoctorsorotherqualified health careproviders.DM E isequipm ent

  thatisdesigned forrepeated useand foramedicalpup ose,such asprostheticlimbs, back braces,

  kneebraces,and wheelchairs.

         4.     ForFloridabeneficiaries,M edicarePartB'sinsuranceconcerning DM E and related

  health care benetits,item s,and services,was adm inistered by Palmetto Governm ent Benefits

  Administrators(çspalmetto GBA''),pursuantto a contractwith HHS. Among Palmetto GBA'S
  responsibilities,itreceived,adjudicated,andpaidtheclaimsofauthorizedDM Esupplitrsthatwere
  seeking reimbursement for the cost ofDM E and other health care benefits,item s, or services

  supplied orprovided toM edicarebeneficiaries.

                                  M edicare B illing Procedures

                A DM E companythatsoughttoparticipateinM edicarePM B and billM edicarefor

  the costofDM E andrelated benefits,item s,and sexviceswasrequired to apply forand receivea

  'tsupplier number.'' The supplier number allowed a DM E company to submitbills, known as

  tsclaims,''toM edicm'etoobtainreim bursementforthecostofDM E and relatedhealth carebenefhs,

  ittm s,and servicesthataDM E companyhad supplied to benetsciaries.

                To receive pam entfrom M edicare,a DM E company,using itssuppliernumber,

 w ould subm it a health insm ance claim form ,know n as a CM S-1500. M edicare perm itted DM E

 companiesto submitaCM S-1500electronically orby wayofapaperclaim form . TheCM S-1500

 required DM E companiestoprovidecertain importantinformation,including:(a)theM edicare

                                                2
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 3 of 16



  benefkiary'snamtandidentiticationnumber;(b)theidtntiticationnumberofthedoctororother
  qualified health care providerwho ordered the health care benefit, item ,or service thatw as the

  subjed ofthedaim;(c)thehealthcarebenetit,item,orservicethatwasprovidedorsuppliedtothe
  benetkiary;(d)thebillingcodesforthebenefit,item,orservice;and(e)thedateuponwhichthe
  benetk,item ,orservicewasprovided orsuppliedto thebeneficiary.

         7.     M edicare,tllrough Palm etto GBA,generally would pay asubstantialportion ofthe

  costofthe DM E orrelated health carebenefits,item s, and servicesthatwerem edically necessary

  and ordered by licensed doctorsorotherlicensed,qualified health careproviders.

         8.     Paym entsunderM edicare PartB were often made directly to the DM E company

  ratherthan to the patient/benetk iary. Forthisto occur,the beneticiary would assign the rightof

  paymenttotheDM E company orotherhealth careprovider.Oncesuch an assignm enttook place,

  theDM E companywouldassumetheresponsibilityforsubmittingclaimsto,andreceivingpaym ents

  from ,M edicare.

                UnderM edicare rulesand regulations,DM E orotherrelated health care benefhs,

  items orother services,m ustbe medically necessary and ordered by a licensed doctororother

  licensed,qualified health carem oviderin ordexto bereimbursedby M edicare.

                                        T he C orporations

                Advance M edicalEquipment,lnc.(tçAdvance M edical''),a Florida corporation,
  locatedat7220N orthwest36th Street,Suite308B,M iam i,Florida33166, waspurportedly engaged

 in the business ofproviding D M E to M edicare beneticiaries. Advance M edicalhad a M edicare

 suppliernum berand waseligible to receive reimbursem entfrom M edicare fordurable medical

 equipm entrendered to beneficiaries.
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 4 of 16



         11. M edlinePharmacyCorp.(ltMedlinePhnrmacy'),aFloridacomoration,located at
  7299 W est Flagler Street,M iam i,Florida 33144,was purportedly engaged in the business of

  providingDM E toM edicarebenetk iaries.M edlinePharm acyhadaM edicm'esuppliernum berand

  waseligibleto receivereimbursem entfrom M edicare fordurablem edicalequipmentrendered to

  beneficiaries.

         12. AdvmwedPharmacy,lnc.(tsAdvancedPharmacy''),aFloridacoporation,locatedat
  251Park Boulevard,M iam i,Florida 33126,waspum ortedly engagedinthebusinessofproviding

  DM E to M edicare benetkiaries. Advanced Pharm acy had a M edicare suppliernumberand was

  eligible to receive reim btlrsement from M edicare for durable medical equipment rendered to

  beneficiaries.

         13.       PharmacyServices,lnc.(çtpharmacyServices'')wasaFloridacorporationlocatedat
  1442 Southwest93rd Place,M inm i,Florida 33174.

         14. Fishing Charters ofMiami,lnc.(dfFishing Charters'')was a Florida corporation
  located at1442 Southw est93rd Place,M iam i,Florida 33174.

                                         The D efendants

                   DefendantLAZARO PRAT wasa residentofM iami-Dade County. From on or

 aboutJune3,2003,through on oraboutJuly 8,2004,LAZARO PR AT waspresidentofAdvance

 M edical.From on oraboutJuly 8,2004,through on oraboutJuly 28, 2004,LA ZA RO PR AT w as

 treasurerofAdvanceM edical. From on oraboutJuly 24, 2004,through on oraboutJanuary 26,

 2005,LAZARO PRAT wasvicepresidentofAdvanceM edical. From on oraboutJune29,2005,

 through on or aboutJuly 28,2008,LAZARO PRAT was presidentand director ofPharmacy

 Services. From on oraboutApril10,2006,through on oraboutJuly 28, 2008,LA ZA RO PR AT

                                               4
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 5 of 16



   waspresidentand directorofFishing Charters.

          16.    Individual1wasaresidentofM inmi-DadeCounty. From on oraboutJuly28,2004,

   through on or aboutJanuary 26,2005,lndividual1waspresident, vice-presidrnt,secretary,and

   treastlrerofAdvanceM edical.

         17.     DetkIAIIaIAtLISSETTE LOPEZPRATMASaresidentofM iami-DadeCotmty. From

   on oraboutAugust2,2004,through on oraboutJuly 29, 2008,LISSETTE LOPEZ PR AT was

   diredor,president,vice-president,secretary,and treasurer ofM edline Phnrmacy. LISSETTE

   LOPEZ PM TT wasthewifeofLAZARO PR AT.

         18.     DefendantEtm M m o ESTABAN TO RRESw% aresidentofM iami-Dadecounty.

  From onoraboutlanuary18,2006,throughonoraboutFebm ary 19, 2008,TORRESwaspresident

  andregistered agentofAdvancedPharmacy.

                                           CO UN T S 1-5
                                        H ealth C are Fraud
                                        (18U.S.C.j1347)
                Paragraphs 1through 18 ofthe GeneralAlltgationssection ofthislndictmentare

  realleged and incorporatedby reference asiffully setforth herein.

         2.     From onoraboutJuly 16,2002,throughon oraboutJuly 29, 2008,in M iam i-D ade

  County,in the Southern DistrictofFlorida,and elsewhere, thedefendants,

                                      LAZARO PR AT,
                                 LISSETTE LOPEZ PR AT,
                                            and
                               EU DA LD O ESTA BAN TO R R ES,

  in connection with the delivery ofand paymentforhealth care benefits, item s,and services,did

  knowingly andwillfully execute,and atlempttoexecute, aschemeandartificetodefraudM edicm'e,


                                                5
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 6 of 16



  a health care benetitprogram affecting comm erce,asdefintd in Title 18, United States Code,

  Section24(b),andtoobtain,bymeansofmateriallyfalseandfraudulentprttenses,representations,
  and prom ises,m oney and property owned by,and tmderthecustody and controlof, M edicare,

  thatis,thedefendants,through Advance M edical,M edline Phannacy, and Advanced Pharmacy,

  subm itted and caused the subm ission of false and fraudulent claim s to M edicare, seeking

  reimbursem entforthecostofvariousDM E item sand services.

                             PurposeoftheSchem e and Artifice

               ltwasthepup oseoftheschem eandartiticeforthedefendantstounlawfully emich

  themselvesby,amongotherthings:(a)submittingorcausingthesubmissionoffalseandfraudulent
  claimsto M edicare;(b)concealingthereceiptofthe fraudproceeds;and (c)diverting thefraud
  proceedsforthepersonaluse and benefitofthemselvesand others.

                                  T he Schem e and A rtifice

         Theschem eand artificeby which the defendantssoughtto accomplish thepurposeof

  theirschem eincluded,am ong others,thefollowing:

         4.    On oraboutJuly 16,2002,LAZARO PRAT opened a corporate bank account

  atBank ofAm erica,ending in 4354,on behalfofAdvanceM edical. LAZARO PRAT wasthe

  sole signatory on the account. On oraboutAugust4, 2004,Individual1 took controlofand

 actedassolesignatoryfortheAdvanceM edicalcorporateaccountatW ashingtonM utualending

 in 4354.

               On oraboutJune 3,2003,paperw ork w as subm itted to the Florida D epartm ent

 ofCorporationsmaking LA ZA RO PRAT presidentofAdvanceM edical. On oraboutJuly 8,

 2004, LAZARO PRAT wasm ade treasurerofAdvance M edical, and later,on oraboutJuly

                                              6
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 7 of 16




  24,2004,LA ZARO PR AT wasmade vice presidentofthe company. Also on July 24,2004,

  Individual1becam epresidentofAdvanceM edical.

         6.    On oraboutSeptem ber 24,2003,N ovember 17,2003,and January 28,2004,

  LAZAR O PRAT subm itted applicationsto M edicare on behalfofAdvance M edicalin order

  to obtaina suppliernum ber,and to nam ehim selfasAdvanceM edical'spresident. On orabout

  July 28,2004,Individual1subm ittedan application to M edicarenam inghim selfasAdvance

  M edical'spresident.

               On oraboutJuly 30,2004,LAZA RO PR AT,on behalfofAdvance M edical,

  submitted an application to have allthem oney M edicare paid to AdvanceM edicaldeposited

  into the com pany'sW ashington M utualaccountending in 4354,

         8.    From on or about April 22, 2004,through on or about January 26, 2005,

  LAZARO PR AT and Individual1,on behalfofAdvance M edical,submitted and caused the

  subm ission of$3,918,136 in false and fraudulentM edicare claim sand obtained $559,980 of

  reimbursem entfrom M edicareforDM E whichwasneitherorderedby aphysiciannorprovided

  to thebeneficiary asclaim ed.

         9.     Duringthatsam eperiod,LAZARO PRAT received $17,400w orth ofcash and
  checksdrawn on AdvanceM edical'sW ashington M utualaccountending in4354.LISSETTE

  LOPEZ PRA T received $5,780 worth of checks drawn on Advance M edical's W ashington

  M utualaccountending in4354.

          10. On oraboutJuly 7,2004,LISSE TTE L O PEZ PR AT signed a lease asM edline

  Pharm acy's president for the com pany to be located at 1442 Southw est 931-d Place,M iam i,

  Florida 33174.
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 8 of 16



          11. On oraboutAugust2,2004,paperwork wassubmittedtotheFloridaDepartm ent

  of Corporations incorporating M edlint Pharm acy and m aking LISSETTE LOPEZ PRAT

  director,president,vice-president,secretary,and treasurerofthecom pany.

          12. On or about Novem ber 5,2004,LISSETTE LOPEZ PRAT subm itted an

  application to M edicare on behalfofM edline Pharm acy in orderto obtain asuppliernum ber,

  and to nam eherselfasM edlinePharm acy'spresident.

          13. On oraboutM arch 11,2005,LISSETTE LO PEZ PRAT, on behalfofM edline

  Pharmacy,subm itted an application to M edicareto haveallM edicarepaym entsto thecom pany

  deposited into thecom pany'scorporateaccountatBank ofAm ericaending in 7814.

          14. From onoraboutFebruary 8,2005,throughon oraboutJuly29, 2008,LAZARO

  PRAT andLISSETTE LO PEZ PRAT,onbehalfofM edlinePharm acy, subm itted andcaused

  the submission of $16,684,461 in false and fraudulent M edicare claim s and obtained

  $10,638,800 of reim bursement from M edicare for DM E which yvas neither ordered by a

  physician norprovided to thebeneficiary asclaim ed.

         15. LAZARO PR AT andLISSETTE LO PEZ PRAT usedtheproceedsofthehealth

  care fraud for their personalbenefitand to further the fraud. LAZARO PRAT received

 approxim ately $289,000 worth of checks drawn on M edline Pharm acy's Bank of Am erica

 accountending in 7814,and LISSETTE LO PEZ PRAT received approxim ately $1 m illion
 worthofchecksfrom thesameaccount.LAZARO PRAT'Stwocompanies, Pharm acy Services

 and FishingCharters,furtherm orereceived approxim ately $1.6 m illion and $441,000 w orth of
 checksdrawn on M edline Pharm acy'sBank ofAm ericaaccountending in 7814, respectively.

               On or about January 18, 2006, paperwork was subm itted to the Florida

                                              8
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 9 of 16



  Department of Corporations incorporating Advanced Pharm acy and nam ing EUDALDO

  ESTABAN TO RRES presidentand registered agentofthe company.

                On or about January 28,2006,EUDALDO ESTABAN TO RRES opened a

  corporate accountfor Advanced Pharm acy atBank of Am erica ending in 1217. TORRES

  signed asthecom pany'spresidentand secretary andLAZAR O PRAT signed asan authorized

  signor.

                OnoraboutFebruary 28,2006,EUDALDO ESTABAN TORRES subm itted an

  application to M edicareon behalfofA dvancedPharm acy in orderto obtain asuppliernum ber,

  andto nam ehim selfasAdvancedPharm acy'sdirector.

                On oraboutM arch 1,2006,EUDALDO ESTABAN TORRES signedaleaseas

  Advanced Pharm acy'spresidentforthecompany to belocated at251Park Boulevard, M iam i,

  Florida 33126.

            20. On oraboutNovem ber7,2007,EUDALDO ESTABAN TORRES,on behalfof

  Advanced Pharm acy,subm itted an application to M edicareto have a1lM edicare paym entsto

  the com pany deposited into the com pany's corporate accountatBank ofAm erica ending in

  12 17.

           21. From on or about June 13, 2006,through on or about February 19, 2008,

 LAZARO PRAT and EUDALDO ESTABAN TO RRES,on behalfofAdvanced Pharm acy,

 subm ittedandcausedthesubm issionof$6,217,623infalstand fraudulentM edicareclaim sand

 obtained $4,202,719 ofreim bursem entfrom M edicare forDM E which wasneitherordered by

 aphysician norprovided to thebeneficiary asclaim ed.

           22. Duringthatsameperiod,LAZARO PR AT receivedapproximately$18,600worth

                                             9
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 10 of 16



  ofchecksdrawn onAdvancePharm acy'sBank ofAm ericaaccountending in 1217.LAZARO

  PRAT'S two companies,Pharm acy Services and Fishing Charters,received approxim ately

  $946,000 and $186,000 worth ofchecks drawn on Advance Pharm acy's Bank of Am erica
  accountending in 1217,respectively.

                 A cts in E xecution or A ttem pted E xecution of the Schem e and A rtifice

          23.     On oraboutthedatesspecified asto each countbelow,in M iam i-Dade County,

  in the Southern District of Florida, and elsewhere, the defendants, LAZARO PRAT,

  LISSETTE LO PEZ PRAT,and EUDALDO ESTABAN TO RRES,in connection with the

  delivery of and paym ent for health care benetits, item s, and services,did knowingly and

  willfully exeeute,and attemptto execute,the above-described schem e and artificeto defraud

  ahealth carebenefitprogram affecting com m erce,thatis,M edicare,and toobtainbym eansof

  m aterially false and fraudulentpretenses,representations,and prom ises,money and property

  owned by,and underthe custody and controlof,said health care benefitprogram ,in that,the

  defendants subm itted and caused the subm ission of false and fraudulentM edicare claim s,

  representingthatAdvanceM edical,M edlinePharm acy,and Advanced Pharm acy providedthe

  identiied DM E to M edicare beneficiariespursuantto physicians'ordersand preseriptions:

   Count Defendants           M edicareClaim         A pprox.    DM E    ProductCode;
                                 Num ber             Date of    Com pany ltem Claim ed;
                                                      C laim             A pproxim ate
                                                                         A m ount
                                                                         Claim ed
      1         LA ZA R O     10635275922600      12/16/2006      M edline   E 1390;Oxygen
                PRAT and                                         Pharm acy   Concentrator;
                LISSETTE                                                      $300
                 LO PEZ
                  PR A T

                                                10
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 11 of 16




   Count Defendants          M edicareClaim        Approx.      DM E       ProductCode;
                                 Num ber           Dateof      Com pany    Item Claim ed;
                                                    C laim                 A pproxim ate
                                                                           A m ount
                                                                           Claim ed
      2        LAZARO        10710074723100        4/7/2007     M edline   ,
                                                                           17614;
               PRAT and                                        Pharmacy    Levalbuterol;
               LISSETTE                                                    $625
                LO PEZ
                PR AT
      3        LAZARO        10810970172600      3/18/2008     M edline    J7605;
               PRAT and                                        Pharm acy   Arform oterol;
               LISSETTE                                                    $566
                LO PE Z
                PRA T
      4         LAZARO       1062857094030         10/4/2006   Advanced    J7614;
                PR AT and                                      Pharm acy   Levalbuterol;
               EUDALDO                                                     $570
               ESTABAN
                TO R R ES
      5        LAZA RO       1070797505700       3/16/2007     Advanced    J7614;
               PRAT and                                        Pharm acy   Levalbuterol;
               EUDALDO                                                     $625
               E ST A BA N
                TO R RE S

          ln violation ofTitle 18,United StatesCode,Sections 1347and 2.

                               FO RFEITU R E A LLE G A TIO N S
                                       (18 U.S.C.j982)
                 The allegationscontained in this Indictmentarere-alleged and incorporated by

  reference asthough fully setfot'
                                 th herein forthe purpose ofalleging forfeiture to the United

  StatesofAm ericaofcertain property in which the defendants,LAZARO PRAT,LISSETTE

  LO PEZ PR AT,and EUDALDO ESTABAN TORRES,havean interest.

          2.     Upon conviction ofa violation ofTitle 18,U nited StatesCode,Sections 1347,

                                              11
 Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 12 of 16



   asalleged inthislndictm ent,thedefendantso convicted shallforfeitto theUnited Statesa11of

   hisorherright,titleand interestin any property,realorpersonal,thatconstitutesorisderived,

   directly or indirectly,from gross proceeds traceable to the com m ission of such violation,

   pursuanttoTitle 18,United StatesCode,Section 982(a)(7).
         3.     The property which issubjectto forfeiture includes,butisnotlimited to,the
   following:a sum ofmoney equalin value to any property,realorpersonal,thatconstitutesor

   is derived,directly or indirectly,from gross proceeds traceable to the com m ission of the

   violationsalleged in thislndictm ent,which the United Stateswillseek asa forfeiture m oney

   judgmentagainsteachdefendantjointlyand severallyaspartoftheirrespectivesentence.
         A1lpursuanttoTitle18,UnitedStatesCode,Section 982(a)(7),andtheproceduresset
   forth atTitle21,United StatesCode,Section 853,asm adeapplicablethrough Title 18,United

   StatesCode,Section982(b)(1).
                                                   A TRU E BILL




           V.           a ç co-v       .    y,-
/V WIFREDOA.FERRR
   U N ITED STA TES A TTO RN EY



   RO B      .      K
   A SSISTA N T U N ITED STA TES A TTORN EY




                                              12
                           UNITED3STATES
 Case 1:11-cr-20684-PAS Document         DISTRICT
                                    Entered        COURT
                           SOUTHERN  DISTRICTonOF
                                                FLSD  Docket
                                                  FLORIDA    09/30/2011 Page 13 of 16

UNITED STATES OF AM ERICA                      CASE NO.
VS.
                                               C ERTIFICATE O F TRIAL ATTO R NEY*
Lo    Ro PRAT
LISSETTELopkzPRAT and
EuoAboo ESTABANT6RRES,
                          Defendants.
                                        I      Superseding Case Information:


Coud Division'
             .(sel
                 ectOne)                       New Defendantts)                 Yes            No
                                               NumberofNew Defendants
                                               Totalnum berofcounts
X      F
       Mi
        Taumi            v
                         Kve)BWest      FTp
       Ido hereby certifythat:
       1.       Ihavecarefullyconsideredtheallegationsgftheindictmqnt,thenumberqfdefendants,thenumberof
                Probable witnesses and the legalcom plexlties ofthe lndlctment/lnformatlon attached hereto.
       2.       Iam Mware thatthe information supplied gn thiq qtatementwillbe relied upon by the Judges ofthis
                Cpurtlnsettingtheirçalendarsandschedullngcrlm lnaltrlalsunderthe mandateofthe Speed- yTrialAct,
                Tltl
                   e 28 U.S.C.Sectlon 3161.
                                                MoA
                Iql
                L s
                  te
                   tr
                    I
                    a
                    pn
                     re
                      gtu
                        ea
                         r:
                          gean(
                              d
                              Y/o
                                er
                                 sd
                                  Ml
                                   a
                                   rl
                                    N
                                    ec
                                     j
       4.       This case willtake      4n     days forthe padies to try.
                Please checkappropriate categoryand type ofoffense Iisted below:
                lcheckonlyone)                                 (Checkonlyone)
                0 to 5 days                                              Petty
                6 to 10 days                                             Minor
                11 to 20 days                                            Misdem.
                21 to 60 days                                            Felony
                61 days and over
       6.       Hasthi
                     scasebeenprevi
                                  ousl
                                     yfiledinthisDistrictCoud? (YesorNo)                 Mn
       Ifyes:
       Judge:                                          Case No.
       (Attachcopy9fdisposi
       H                  tiveMrdej
        asacomplalntbeenfiled Inthlsmatter?            (YesorNo)          Nn
       Ifyeq:
       Maglstrate Case No.
       Related Misc:llaneousnumbers:
       Defendantts)lnfederalcustodyasof
       Defendantts)In state custodyasof
       Rule 20 from the                                Districtof
       Isthisapotenti
                    aldeath penaltycase? (YesorNo)
                Doesthiscaseorq
                              i inatefrom a matterpending intheNodhern Regionofthe U.S.Attorney'sOfhce pri
                                                                                                         or
                to October14,20-
                               037           Yes Y           No

       8.       Doesthi s case originatefrom a matterpending inthe CentralRegionofthe U.S.Attorney's Office prior
                to September1,2D07?             Yes X          No




                                                       Rpbe J.Luck
                                                       A SSISTANT UNITED STATES ATTORNEY
                                                       Florida BarNo.0028065

*PenaIN Sheetts)attached                                                                               REV4/8/08
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 14 of 16



                           UNITED STATES DISTRICT CO URT
                           SO UTH ERN DISTRICT O F FLO RIDA                                             q

                                      PENALTY SHEET                                                 .   )
                                                                                                    è

 Defendant'sNam e:LAZARO PR AT
                                                                                                    r

 CaseNo:                                                                                            .


 Counts #:1-5                                                                                       '
                                                                                                    :
                                                                                                    t
                                                                                                    g.)
   Health CareFraud                                                                             ë
                                                                                                j'
   Title 18. United StatesCode.Sedion 1347                                                      )
                                                                                                '
                                                                                                    q
                                                                                                    l
 *M ax.Penalty:       10 years'im prisonmentasto each count                                         '
                                                                                                    ,

                                                                                                    L
                                                                                                    r.
                                                                                                ..  j
                                                                                                    .
                                                                                                    :

                                                                                                    J'
                                                                                                     '
                                                                                                    '
                                                                                                    .

                                                                                                    jj



                                                                                                    k
                                                                                                    L
                                                                                                    .

                                                                                                L
                                                                                                    :


                                                                                                l
                                                                                                j
                                                                                                t
                                                                                                r
                                                                                                è
                                                                                                '
                                                                                                .
                                                                                                j
                                                                                                .
                                                                                                1
                                                                                                .
                                                                                                )

                                                                                                :
                                                                                                .
                                                                                                .




                                                                                                i:
                                                                                                 2E
                                                                                                '
                                                                                                -
                                                                                                .
                                                                                                q
                                                                                                t
                                                                                                j
                                                                                                !
                                                                                                @

                                                                                                g
                                                                                                t
                                                                                                )
                                                                                                ï
                                                                                                .

                                                                                                )

                                                                                                1
                                                                                                t
                                                                                                .
                                                                                                1
  *R efers only to possible term ofincarceration,does notinclude possible fines
          specialassessments                                                    ,restitution,
                                ,parole term s,or forfeituresthatm ay be applicable.            t
                                                                                                '
                                                                                                j
                                                                                                t

                                                                                                j
                                                                                                l
                                                                                                    /T,
                                                                                                    i.
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 15 of 16                   1.


                                                                                                    j
                                                                                                    ,
                                                                                                    è
                          UNITEDSTATESDISTRICTCOURT
                          SOUTHERN DISTRICT OF FLORIDA
                                                                                                    )
                                                                                                    ,
                                                                                                    (
                                                                                                    .).

                                                                                                    l
                                                                                                    '
                                                                           ,
                                                                           .
                                                                                                    (
                                                                                                    j
                                                                                                    .
                                                                                                    ..




 Defendant'sName:LISSETTELOPEZPRAT                                                              r
                                                                                                C
                                                                                                '
                                                                                                i
 CaseNo:                                                                                            )
                                                                                                    ;

 Counts #:1-3                                                                                       ï
                                                                                                    (
   Hea1thCareFraud                     -
                                                                                                j
                                                                                                1
                                                                                                7
                                                                                                .
                                                                                                J
   Title 18. United StatesCode.Section 1347                                                     )
                                                                                                t

 *Max                                                                                           t
      .
          Penalty: 10years'imprisonmentastoeachcount                                            j
                                                                                                .
                                                                                                )
                                                                                                )
                                                                                                '
                                                                                                '
                                                                                                t
                                                                                                y

                                                                                                j.
                                                                                                1
                                                                                                j
                                                                                                r
                                                                                                ;
                                                                                                h
                                                                                                '
                                                                                                )
                                                                                                .
                                                                                                1
                                                                                                7
                                                                                                :
                                                                                                t
                                                                                                r
                                                                                                )
                                                                                                j
                                                                                                .
                                                                                                (
                                                                                                )
                                                                                                .

                                                                                                t
                                                                                            )
                                                                                            t
                                                                                            l
                                                                                                t
                                                                                            t
                                                                                            '
                                                                                            -
                                                                                            j
                                                                                            j''
                                                                                              .
                                                                                             l
                                                                                             '
                                                                                             .
                                                                                             ;
                                                                                             ,
                                                                                             r
                                                                                             i
                                                                                             -
                                                                                            (q
                                                                                             .
                                                                                            l
                                                                                            1
                                                                                            t.
                                                                                            j
                                                                                            ,
                                                                                            I
 WRefersonlytopossibleterm ofincarceration,doesnotinclude possible fines                    l
             i                                                              ,restitution,   t
         specaIassessm ents,parole term s,or forfeitures thatm ay be applicable.            j
                                                                                            l
                                                                                            )
                                                                                            )
                                                                                            t
                                                                                            1
                                                                                            .

                                                                                            )
                                                                                            .
                                                                                            1
                                                                                            :
Case 1:11-cr-20684-PAS Document 3 Entered on FLSD Docket 09/30/2011 Page 16 of 16



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                      PEN A LTY SH EET

  D efendant's N am e:EU DA LD O ESTA BA N TO R R ES

  CaseNo:

  Counts #:4-5

   Health Care Fraud

   Title 18.United StatesCode.Sectipn 1347

  *M ax.Penalty:       10 years'im prisonm entasto each count




   WR efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
